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1                                                                           Hon. Richard A. Jones
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4
                               UNITED STATES DISTRICT COURT
5                             WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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7
     UNITED STATES OF AMERICA,                         NO. CR20-162 RAJ
8
                                Plaintiff,
9
            vs.                                        ORDER GRANTING DEFENDANT’S
10                                                     UNOPPOSED MOTION TO CONTINUE
     FRANKLIN LICONA-RIVERA,                           TRIAL DATE AND PRETRIAL
11
                                Defendant.             MOTIONS DEADLINE
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            THIS COURT has considered the unopposed motion to continue trial date and
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     pretrial motion deadline in this matter and finds that:
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              (a) Taking into account the exercise of due diligence, a failure to grant a
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     continuance in this case would deny counsel for the defendant the reasonable time
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     necessary for effective preparation due to counsel’s need for more time to review the
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     evidence, consider possible defenses and gather evidence material to the defense; and
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              (b) A failure to grant such a continuance in this proceeding would likely result
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     in a miscarriage of justice; and
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              (c) The ends of justice will best be served by a continuance, and the ends of
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     justice outweigh the best interests of the public and the defendant in any speedier trial;
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     and
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              (d) All these findings are made within the meaning of 18 USC §3161(h)(7)(A)
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     and (B)(i) and (iv).
27

28    ORDER GRANTING MOTION TO                                         Hart Jarvis Murray Chang PLLC
      CONTINUE TRIAL AND PRETRIAL                                       155 NE 100th Street, Ste. 210
                                                                              Seattle, WA 98125
29    MOTIONS DEADLINE -1                                                       (206) 735-7474
      USA vs. Licona-Rivera, CR20-162 RAJ
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            IT IS THEREFORE ORDERED that Defendant’s Unopposed Motion to Continue
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     Trial Date and Pretrial Motions Deadline (Dkt. # 44) is GRANTED. The trial date in this
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     matter is continued to April 25, 2022. All pretrial motions, including motions in limine,
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     are due no later than March 3, 2022.

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            IT IS FURTHER ORDERED that the period of delay from the date of this order to

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     the new trial date of April 25, 2022, is excludable time pursuant to 18 USC

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     §3161(h)(7)(A).

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            DATED this 29th day of September, 2021.

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                                                     A
12                                                   The Honorable Richard A. Jones
                                                     United States District Judge
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28    ORDER GRANTING MOTION TO                                       Hart Jarvis Murray Chang PLLC
      CONTINUE TRIAL AND PRETRIAL                                     155 NE 100th Street, Ste. 210
                                                                            Seattle, WA 98125
29    MOTIONS DEADLINE -2                                                     (206) 735-7474
      USA vs. Licona-Rivera, CR20-162 RAJ
